                            UNITED STATES DISTRICT COURT
                        FOR THE NORTHERN DISTRICT OF ILLINOIS



IN RE BROILER CHICKEN ANTITRUST
LITIGATION                                          Case No.: 1:16-cv-08637

                                                    Judge Thomas M. Durkin

This Document Relates To:                           Magistrate Judge Jeffrey T. Gilbert
Chick-fil-A, Inc. v. Agri Stats, Inc. et al.,
20-cv-7205




 DEFENDANTS’ OPPOSITION TO DIRECT-ACTION PLAINTIFF CHICK-FIL-A, INC.’S
  MOTION TO STAY AUGUST 31, 2021 EXPERT REPORT DEADLINE IN LIGHT OF
   SIGNIFICANCE OF PENDING DECISION ON BIFURCATION AND PROPOSED
                TRIAL PLANS AND POTENTIAL PREJUDICE




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        Certain Direct Action Plaintiffs (“DAPs”)1 have moved for an indefinite stay of their

obligation to submit expert reports without citing, much less satisfying, the relevant legal standard

that good cause must be shown for modifying a scheduling order. DAPs’ motion should be denied.

        This Court alluded to the principle that should govern this motion at the February 7, 2018

status conference—“you have the right to do whatever you want on behalf of your clients, . . . but

. . . we’re not stopping this train for that, okay?” Feb. 7, 2018 Hr’g. Tr. at 21:11-16. Nevertheless,

the DAPs do not explain how their motion could satisfy the good cause standard. And despite

disregarding the second half of the Court’s statement, DAPs have taken full advantage of the first,

including by filing a motion for reconsideration and a two-track trial plan that would upend nearly

every deadline in this case. See, e.g., Dkts. 4759, 4651. Defendants have explained why this

Court’s decision bifurcating the bid-rigging claims was correct and that there is no reason to revisit

nearly every aspect of this Court’s carefully-managed schedule. See, e.g., Dkts. 4830, 4834. Those

submissions are pending. But unless Judge Durkin rules in DAPs’ favor, this Court should not

permit another indefinite delay by granting DAPs’ requested change to the scheduling order.

Having benefited from joining an ongoing matter (for example, by obtaining far more discovery

than their individual cases would otherwise have warranted), DAPs cannot derail the train simply



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 Rather than filing a single motion, DAPs filed an initial motion followed by a number of “joinders.” As of this
opposition, the moving DAPs are Chick-fil-A; the “McLane Plaintiffs” (Dkt. 4935); Pollo Operations, Inc.; Alhold
Delhaize USA, Inc.; ALDI, Inc.; Shamrock Foods Co.; United Food Service, Inc.; Boston Market Corp.; Bojangles’
Restaurants, Inc.; Bojangles Opco, LLC; WZ Franchise Corp.; Zaxby’s Franchising LLC; Barbeque Integrated, Inc.;
FIC Restaurants; The Johnny Rockets Group, Inc.; Golden Corral Corp.; White Castle Purchasing Co.; Cracker Barrel
Old Country Store, Inc.; CBOCS Distribution, Inc.; Captain D’s LLC; El Pollo Loco, Inc.; Service Group of America;
United Supermarkets, LLC; Krispy Krunchy Foods, LLC; Cheney Bros. Inc.; Hooters of America, LLC; Checkers
Drive-In Restaurants, Inc.; Restaurants of America, Inc.; LTP Management Group, Inc.; Gibson, Greco & Wood, Ltd.;
Hooters Management Corp.; Anaheim Wings, LLC; Bob Evans Farms, Inc.; The Fresh Market, Inc.; Wawa, Inc.;
Restaurant Services, Inc.; Cajun Operating Co.; Sonic Industries Services Inc.; Buffalo Wild Wings, Inc.; CKE
Restaurant Holdings, Inc.; Focus Brands, LLC; The Cheesecake Factory Inc.; Whatabrands LLC; Whataburger
Restaurants LLC; BJ’s Wholesale Club, Inc.; Jetro Holdings, LLC; Maximum Quality Foods, Inc.; Sherwood Food
Distributors, LLC; Harvest Meat Company, Inc.; Western Boxed Meat Distributors, Inc.; Hamilton Meat, LLC;
Darden Restaurants, Inc.; PJ Food Service, Inc.; Thurston Foods, Inc.; Feeser’s, Inc.; Quirch Foods, LLC; Independent
Purchasing Cooperative, Inc.; Supply Management Systems, Inc.; and the “Conagra Plaintiffs” (Dkt. 4960).


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because they do not like the direction it is going. See, e.g., May 24, 2021 Hr’g Tr. at 10:9-11:4

(explaining that “unless and until” the Court rules on the pending reconsideration motion, this

Court cannot set a case schedule assuming that DAPs’ motion will be granted).

       The Court’s comments at the February 7, 2018 hearing are grounded in Federal Rule of

Civil Procedure 16(b)(4), which requires a showing of “good cause” to modify a scheduling order.

Fed. R. Civ. P. 16(b)(4). DAPs’ motion seeks to modify the current August 31 deadline for

disclosure of their expert reports, which is set out in Scheduling Order 16. Accordingly, DAPs’

motion, though fashioned as a request for a “stay,” is actually a request to modify the operative

scheduling order, and thus must satisfy Rule 16(b)(4). See, e.g., Experience Based Learning, Inc.

v. Hanover Ins. Co., 2019 WL 2576390, at *4 (N.D. Ill. 2019) (explaining that motion to alter

scheduling order “is properly analyzed under the rule that specifically contemplates schedule

modification, Rule 16(b)(4)”); Smith v. Howe Mil. Sch., 1997 WL 662506, at *3 (N.D. Ind. 1997)

(analyzing request to modify expert deadline under Rule 16(b)(4)). In determining if that standard

is satisfied, “the primary consideration for district courts is the diligence of the party seeking

amendment.” Alioto v. Town of Lisbon, 651 F.3d 715, 720 (7th Cir. 2011) (citation omitted).

       As this Court explained at the May 24, 2021 hearing on Scheduling Order 16, unless and

until the pending motion for reconsideration is granted, this case is proceeding with the bid-rigging

claims bifurcated from the Georgia Dock and supply cut claims. See May 24, 2021 Hr’g Tr. at

10:9-11:4. The parties have completed important and substantial work with the understanding that

those claims are bifurcated—class certification has been briefed, discovery is substantially

complete, and the parties have incurred substantial expert fees preparing for the upcoming expert

report deadlines. There is no reason, let alone “good cause,” to upend the case schedule and impose

an indefinite stay of deadlines simply because some DAPs filed a motion for reconsideration.




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         Moreover, DAPs cannot satisfy the diligence standard set out in Alioto. DAPs agreed to

Scheduling Order 16 (entered June 17, 2021) despite knowing about the issues they are now raising

as early as May 2021. See Dkt. 4784. At that time, Chick-fil-A had already filed a motion for

reconsideration of this Court’s September 22, 2020 Bifurcation Order. See Dkt. 4651. The Court

had called for briefing on proposed trial plans. See Dkt. 4616. And, on May 24, 2021, certain

DAPs, including Chick-fil-A, proposed a two track approach to fact discovery, expert submissions

and trial, under which certain DAPs’ expert reports would be due on August 31, 2021, but Chick-

fil-A would not need to serve its expert reports until September 6, 2022. See Dkt. 4702 at 3. The

Court had already requested briefing on DAPs’ position concerning Continental Ore Co. v. Union

Carbide & Carbon Corp., 370 U.S. 690 (1962), see Dkt. 4722 at 1, which DAPs filed on June 18,

2021—a day after Scheduling Order 16 was entered, see Dkt. 4754. Despite all this, DAPs waited

until three weeks before the deadline they had negotiated to request a stay. On these facts, DAPs

cannot satisfy Rule 16. See McCann v. Cullinan, 2015 WL 4254226, at *11 (N.D. Ill. 2015) (no

good cause when “plaintiff’s counsel voiced no concern” before relevant deadline was set).

         Finally, the self-inflicted prejudice that DAPs complain of can be easily remedied. If the

Court rules in DAPs’ favor with respect to the reconsideration motion, a new scheduling order will

need to be negotiated and expert reports will, at some point, be supplemented. If DAPs are

concerned that their experts could be cross-examined at trial using a prior version of their expert

reports, then they can file a motion in limine about that issue at the appropriate time.2

         For all of these reasons, Defendants respectfully request that DAPs’ motion be denied.




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  DAPs claim that their proposal will not prejudice Defendants. That is wrong, and it is also irrelevant. See Briesacher
v. AMG Res., Inc., 2005 WL 2105908, at *2 (N.D. Ind. 2005) (collecting cases and noting that “[g]ood cause is not
established by reference to whether the opposing party will be prejudiced or the ability of a trial date to accommodate
the altered schedule.”); McCann, 2015 WL 4254226, at *12 (noting that “the Seventh Circuit has never held that
prejudice is a proper consideration under this rule”).


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                                  CERTIFICATE OF SERVICE

       I hereby certify that on August 19, 2021, a true and correct copy of the foregoing document

was electronically filed with the Clerk of the Court using CM/ECF system, which will send

notification of such filing to all counsel of record.

                                                        /s/ Ankur Mandhania, Esq.
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